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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


JIHAD A. HACHEM, Individually and On       Case No.:
Behalf of All Others Similarly Situated,

                           Plaintiff,      CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
             v.                            SECURITIES LAWS

GENERAL ELECTRIC, INC., JEFFREY
R. IMMELT, JEFFREY S. BORNSTEIN,           JURY TRIAL DEMANDED
and JOHN L. FLANNERY,

                           Defendants.
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       Plaintiff Jihad A. Hachem (“Plaintiff”), by and through his attorneys, alleges the

following upon information and belief, except as to those allegations concerning Plaintiff, which

are alleged upon personal knowledge. Plaintiff’s information and belief is based upon, among

other things, his counsel’s investigation, which includes without limitation: (a) review and

analysis of regulatory filings made by General Electric Company, (“General Electric” or the

“Company”), with the United States (“U.S.”) Securities and Exchange Commission (“SEC”); (b)

review and analysis of press releases and media reports issued by and disseminated by General

Electric; and (c) review of other publicly available information concerning General Electric.

                        NATURE OF THE ACTION AND OVERVIEW
       1.       This is a class action on behalf of persons and entities that acquired General

Electric’s securities between July 21, 2017, and October 20, 2017, inclusive (the “Class Period”),

against the Defendants,1 seeking to pursue remedies under the Securities Exchange Act of 1934

(the “Exchange Act”).

       2.       General Electric is a globally diversified technology and financial services

company. The Company offers a wide variety of products and services including aircraft

engines, power generation, water processing and household appliances. General Electric operates

along several segments, including: Capital, Healthcare, Aviation, Power, Oil & Gas, Renewable

Energy, Energy Collections & Lighting, and Transportation.         Throughout the Class Period

defendants allegedly failed to disclose the underperformance of several of the Company’s

operating segments.

       3.       On October 20, 2017, the Company disclosed quarterly results for the third

quarter 2017, disclosing earnings per share (“EPS”) of $0.29, falling below earnings estimates of

$0.49 per share. The Company also lowered 2017 earnings expectations, lowering EPS to $1.05-

$1.10 from $1.60-$1.70.

       4.       On that same day, October 20, 2017, the Company held a conference call to



1
 “Defendants” refers to General Electric Company, Jeffrey R. Immelt, Jeffrey S. Bornstein, and
John Flannery, collectively.
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discuss its financial results. On the call, Defendant Flannery stated that the Company had been

completing a review of its operations and that, “While the company has many areas of strength,

it's also clear from our current results that we need to make some major changes with urgency

and a depth of purpose. Our results are unacceptable, to say the least.”

       5.       On this news, during the following two days of trading, the Company’s stock

price fell nearly 7% or $1.51 per share on October 23, 2017, on unusually heavy trading volume.

       6.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose: (1) that the Company’s

various operating segments, including its Power segment, were underperforming Company

projections, with order drops, excess inventories and increased costs; (2) as a result the Company

overstated GE’s full year 2017 guidance; and, (3) that, as a result of the foregoing, Defendants’

statements about General Electric’s business, operations, and prospects, were false and

misleading and/or lacked a reasonable basis.

       7.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                JURISDICTION AND VENUE

       8.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       9.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       10.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the dissemination of materially false and/or misleading information,


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occurred in substantial part in this Judicial District.

        11.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        12.     Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased General Electric securities during the Class Period, and suffered damages as a

result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

        13.     Defendant General Electric Communications Corporation is incorporated in

Delaware and its headquarters are in Norwalk, Connecticut. General Electric’s common stock

trades on the New York Stock Exchange (“NYSE”) under the symbol “GE.”

        14.     Defendant Jeffrey R. Immelt (“Immelt”) was the Chairman and Chief Executive

officer (“CEO”) of General Electric from September 2001 through August 1, 2017.

        15.     Defendant Jeffrey S. Bornstein (“Bornstein”) was the Chief Financial officer

(“CFO”) of General Electric during the Class Period.

        16.     Defendant John Flannery (“Flannery”) was the CEO of General Electric from

August 1, 2017 through the end of the Class Period.

        17.     Defendants Immelt, Bornstein, and Flannery (collectively the “Individual

Defendants”), because of their positions with the Company, possessed the power and authority to

control the contents of General Electric’s reports to the SEC, press releases and presentations to

securities analysts, money and portfolio managers and institutional investors, i.e., the market.

The Individual Defendants were provided with copies of the Company’s reports and press

releases alleged herein to be misleading prior to, or shortly after, their issuance and had the

ability and opportunity to prevent their issuance or cause them to be corrected. Because of their

positions and access to material non-public information available to them, the Individual


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Defendants knew that the adverse facts specified herein had not been disclosed to, and were

being concealed from, the public, and that the positive representations which were being made

were then materially false and/or misleading. The Individual Defendants are liable for the false

statements pleaded herein.

                              SUBSTANTIVE ALLEGATIONS

                                         Background

       18.    General Electric is a globally diversified technology and financial services

company. The Company offers a wide variety of products and services including aircraft

engines, power generation, water processing and household appliances. General Electric operates

along several segments, including: Capital, Healthcare, Aviation, Power, Oil & Gas, Renewable

Energy, Energy Collections & Lighting, and Transportation.        Throughout the Class Period

defendants allegedly failed to disclose the underperformance of several of the Company’s

operating segments.
                              Materially False and Misleading
                         Statements Issued During the Class Period

       19.    The Class Period begins on July 21, 2017. On that day, the Company issued a

press release announcing Second Quarter 2017 earnings, including net earnings of $1.2 billion or

$0.13 per share, on total revenues of $29.6 billion, and the Company also provided 2017

guidance of $1.60-$1.70 per share. In the press release, the Company provided an overview of

major transactions by segment:

       INDUSTRIAL DEAL HIGHLIGHTS

              POWER:
              9 HA gas turbine orders in 2Q with 33 units in backlog
              Won largest Power Services agreement in history - more than $3 billion -
              to support a large volume of power in Algeria with Sonelgaz, including 68
              Advanced Gas Path upgrades (AGPs)
              Won $200+ million fast power and digital services contracts to supply
              power for up to 15% of the population of Angola



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    RENEWABLE ENERGY:
    Won contract to supply Invenergy’s 300MW wind farm in Texas with 120
    GE2.5-116 turbines
    First large-scale pilot of Digital Hydro Plant with Fortum in Sweden

    OIL & GAS:
    Combined Baker Hughes and GE Oil & Gas to create BHGE in 3Q;
    world’s first fullstream oil and gas company
    Deal for subsea production systems, equipment, and service for
    Mozambique offshore development project, making us the first subsea
    supplier in Mozambique and East Africa

    HEALTHCARE:
    Announced 10-year collaboration with Partners Healthcare to develop
    Artificial Intelligence medical platforms and solutions
    Signed agreement with Humber River Hospital in Canada to install a
    digital Command Center, using predictive analytics to target improved
    clinical, operational and financial outcomes
    Announced deal to install India’s first-ever FlexFactory to expand
    biologics production in Hyderabad, India

    TRANSPORTATION:
    Signed letter of intent with Ministry of Transportation and Egyptian
    National Railways worth $575 million for locomotives and 15-year
    agreement for parts and technical support

    ENERGY CONNECTIONS:
    Introduced world’s first battery-gas turbine hybrid system with Southern
    California Edison
    India’s first-ever LV5 solar inverter solution deployment with 25-year
    long-term service agreement; largest executed order to date in the country

    AVIATION:
    Announced more than $31 billion-a) in orders and commitments at the
    Paris Air Show
    Signed $3 billion long-term CFM LEAP-1B engine-b) support agreement
    with VietJet Air
    Awarded $1 billion contract from U.S. Army for 2,500 T700 engines

    GLOBAL GROWTH:
    Signed $15 billion of MoUs and agreements for industrial project
    development and capacity building in Saudi Arabia

    CURRENT, POWERED BY GE:
    Announced second phase of JPMorgan Chase collaboration to reduce their
    global energy consumption by 15% across 4,500 branches
    Signed UK’s largest LED deal with Sainsbury’s to switch to 100% LED
    lighting in its stores

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               DIGITAL:
               Signed Predix digital solutions agreement with Saudi Ministry of Health to
               enable digital hospitals
               IDC MarketScape recognized GE Digital as a leader in IoT solutions in its
               IDC MarketScape: IoT Platform 2017 Vendor Assessment

         20.   On July 28, 2017, the Company filed its quarterly report with the SEC on Form

10-Q, reiterating the results previously disclosed in the July 21, 2017 press release referenced

above.

         21.   The above statements identified in ¶¶19-20 were materially false and/or

misleading, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose: (1) that the Company’s

various operating segments, including its Power segment, were underperforming Company

projections, with order drops, excess inventories and increased costs; (2) as a result the Company

overstated GE’s full year 2017 guidance; and, (3) that, as a result of the foregoing, Defendants’

statements about General Electric’s business, operations, and prospects, were false and

misleading and/or lacked a reasonable basis.

                           Disclosures at the End of the Class Period
         22.   On October 20, 2017, the Company disclosed quarterly results for the third

quarter 2017, disclosing earnings per share (“EPS”) of $0.29, falling below earnings estimates of
$0.49 per share. The Company also lowered 2017 earnings expectations, lowering EPS to $1.05-

$1.10 from $1.60-$1.70.

         23.   On that same day, October 20, 2017, the Company held a conference call to

discuss its financial results. On the call, Defendant Flannery stated that the Company had been

completing a review of its operations and that, “While the company has many areas of strength,

it's also clear from our current results that we need to make some major changes with urgency

and a depth of purpose. Our results are unacceptable, to say the least.”

         24.   On this news, over the next two days of trading, the Company’s stock price fell

nearly 7% or $1.51 per share on October 23, 2017, on unusually heavy trading volume.


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                               CLASS ACTION ALLEGATIONS

       25.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

acquired General Electric’s securities between July 21, 2017, and October 20, 2017, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

       26.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, General Electric’s common stock actively traded on

the NYSE. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that there are at least

hundreds or thousands of members in the proposed Class. Millions of General Electric shares

were traded publicly during the Class Period on the NYSE. As of June 30, 2017, General

Electric had 8,657,946,000 shares of common stock outstanding. Record owners and other

members of the Class may be identified from records maintained by General Electric or its

transfer agent and may be notified of the pendency of this action by mail, using the form of

notice similar to that customarily used in securities class actions.

       27.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       28.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

       29.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       (a)     whether the federal securities laws were violated by Defendants’ acts as alleged


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herein;

          (b)     whether statements made by Defendants to the investing public during the Class

Period omitted and/or misrepresented material facts about the business, operations, and prospects

of General Electric; and

          (c)     to what extent the members of the Class have sustained damages and the proper

measure of damages.

          30.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                UNDISCLOSED ADVERSE FACTS
          31.     The market for General Electric’s securities was open, well-developed and

efficient at all relevant times. As a result of these materially false and/or misleading statements,

and/or failures to disclose, General Electric’s securities traded at artificially inflated prices

during the Class Period. Plaintiff and other members of the Class purchased or otherwise

acquired General Electric’s securities relying upon the integrity of the market price of the

Company’s securities and market information relating to General Electric, and have been

damaged thereby.

          32.     During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of General Electric’s securities, by publicly issuing false and/or

misleading statements and/or omitting to disclose material facts necessary to make Defendants’

statements, as set forth herein, not false and/or misleading. The statements and omissions were

materially false and/or misleading because they failed to disclose material adverse information

and/or misrepresented the truth about General Electric’s business, operations, and prospects as

alleged herein.


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         33.    At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about General Electric’s financial well-being and prospects.           These

material misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein when the truth was

revealed.

                                      LOSS CAUSATION
         34.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

         35.    During the Class Period, Plaintiff and the Class purchased General Electric’s

securities at artificially inflated prices and were damaged thereby. The price of the Company’s

securities significantly declined when the misrepresentations made to the market, and/or the

information alleged herein to have been concealed from the market, and/or the effects thereof,

were revealed, causing investors’ losses.

                                 SCIENTER ALLEGATIONS

         36.    As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by


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virtue of their receipt of information reflecting the true facts regarding General Electric, their

control over, and/or receipt and/or modification of General Electric’s allegedly materially

misleading misstatements and/or their associations with the Company which made them privy to

confidential proprietary information concerning General Electric, participated in the fraudulent

scheme alleged herein.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE
                      (FRAUD-ON-THE-MARKET DOCTRINE)

       37.     The market for General Electric’s securities was open, well-developed and

efficient at all relevant times. As a result of the materially false and/or misleading statements

and/or failures to disclose, General Electric’s securities traded at artificially inflated prices

during the Class Period. On August 4, 2017, the Company’s stock price closed at a Class Period

high of $25.78 per share. Plaintiff and other members of the Class purchased or otherwise

acquired the Company’s securities relying upon the integrity of the market price of General

Electric’s securities and market information relating to General Electric, and have been damaged

thereby.

       38.     During the Class Period, the artificial inflation of General Electric’s stock was

caused by the material misrepresentations and/or omissions particularized in this Complaint

causing the damages sustained by Plaintiff and other members of the Class. As described herein,

during the Class Period, Defendants made or caused to be made a series of materially false

and/or misleading statements about General Electric’s business, prospects, and operations.

These material misstatements and/or omissions created an unrealistically positive assessment of

General Electric and its business, operations, and prospects, thus causing the price of the

Company’s securities to be artificially inflated at all relevant times, and when disclosed,

negatively affected the value of the Company stock.         Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the

Class purchasing the Company’s securities at such artificially inflated prices, and each of them

has been damaged as a result.

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         39.   At all relevant times, the market for General Electric’s securities was an efficient

market for the following reasons, among others:

         (a)   General Electric stock met the requirements for listing, and was listed and

actively traded on the NYSE, a highly efficient and automated market;

         (b)   As a regulated issuer, General Electric filed periodic public reports with the SEC

and/or the NYSE;

         (c)   General Electric regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

         (d)   General Electric was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms.      Each of these reports was publicly

available and entered the public marketplace.

         40.   As a result of the foregoing, the market for General Electric’s securities promptly

digested current information regarding General Electric from all publicly available sources and

reflected such information in General Electric’s stock price. Under these circumstances, all

purchasers of General Electric’s securities during the Class Period suffered similar injury

through their purchase of General Electric’s securities at artificially inflated prices and a

presumption of reliance applies.

         41.   A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because the Class’s claims are, in large part, grounded on Defendants’ material

misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial

prospects—information that Defendants were obligated to disclose—positive proof of reliance is


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not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the

sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                        NO SAFE HARBOR

        42.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of General Electric who knew that the statement was false when made.

                                             FIRST CLAIM
                          Violation of Section 10(b) of The Exchange Act and
                                 Rule 10b-5 Promulgated Thereunder
                                        Against All Defendants

        43.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        44.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase General Electric’s securities at artificially inflated prices.

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In furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

defendant, took the actions set forth herein.

       45.       Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for General Electric’s securities in violation of Section

10(b) of the Exchange Act and Rule 10b-5.            All Defendants are sued either as primary

participants in the wrongful and illegal conduct charged herein or as controlling persons as

alleged below.

       46.       Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about General Electric’s

financial well-being and prospects, as specified herein.

       47.       Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of General Electric’s value

and performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about General Electric and its

business operations and future prospects in light of the circumstances under which they were

made, not misleading, as set forth more particularly herein, and engaged in transactions,

practices and a course of business which operated as a fraud and deceit upon the purchasers of

the Company’s securities during the Class Period.

       48.       Each of the Individual Defendants’ primary liability and controlling person

liability arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s


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management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.

       49.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing General Electric’s financial well-being and prospects

from the investing public and supporting the artificially inflated price of its securities. As

demonstrated by Defendants’ overstatements and/or misstatements of the Company’s business,

operations, financial well-being, and prospects throughout the Class Period, Defendants, if they

did not have actual knowledge of the misrepresentations and/or omissions alleged, were reckless

in failing to obtain such knowledge by deliberately refraining from taking those steps necessary

to discover whether those statements were false or misleading.

       50.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

General Electric’s securities was artificially inflated during the Class Period. In ignorance of the

fact that market prices of the Company’s securities were artificially inflated, and relying directly

or indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public


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statements by Defendants during the Class Period, Plaintiff and the other members of the Class

acquired General Electric’s securities during the Class Period at artificially high prices and were

damaged thereby.

        51.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that General Electric was experiencing, which were not disclosed by Defendants, Plaintiff and

other members of the Class would not have purchased or otherwise acquired their General

Electric securities, or, if they had acquired such securities during the Class Period, they would

not have done so at the artificially inflated prices which they paid.

        52.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder.

        53.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

                                         SECOND CLAIM
                          Violation of Section 20(a) of The Exchange Act
                                Against the Individual Defendants

        54.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        55.     Individual Defendants acted as controlling persons of General Electric within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading. Individual Defendants were provided with or
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had unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements

were issued and had the ability to prevent the issuance of the statements or cause the statements

to be corrected.

        56.    In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        57.    As set forth above, General Electric and Individual Defendants each violated

Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue

of their position as controlling persons, Individual Defendants are liable pursuant to Section

20(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiff and other members of the Class suffered damages in connection with their purchases of

the Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF
        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




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Dated: November 1, 2017            GLANCY PRONGAY & MURRAY LLP



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                                   Counsel for Plaintiff




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                                SWORN CERTIFICATION OF PLAINTIFF
                    GENERAL ELECTRIC COMPANY SECURITIES LITIGATION

         I, Jihad Hachem individually, and/or in my capacity as trustee and/or principal for accounts
listed on Schedule A, certify that:

           1.      I have reviewed the Complaint and authorize its filing and/or the filing of a Lead Plaintiff
                   motion on my behalf.

           2.      I did not purchase General Electric Company the security that is the subject of this
                   action, at the direction of plaintiff's counsel or in order to participate in any private action
                   arising under this title.

           3.      I am willing to serve as a representative party on behalf of a class and will testify at
                   deposition and trial, if necessary.

           4.      My transactions in General Electric Company during the Class Period set forth in the
                   Complaint are as follows:

                   (See attached transactions)

           5.      I have not served as a representative party on behalf of a class under this title during the
                   last three years, except for the following:


           6.      I will not accept any payment for serving as a representative party, except to receive my
                   pro rata share of any recovery or as ordered or approved by the court, including the award
                   to a representative plaintiff of reasonable costs and expenses (including lost wages)
                   directly relating to the representation of the class.


           I declare under penalty of perjury that the foregoing are true and correct statements.



    10/26/2017
     ________________                                 _____________________________________________
         Date                                                          Jihad Hachem




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                   Jihad Hachem's Transactions in
                   General Electric Company (GE)
       Date       Transaction Type    Quantity      Unit Price
     10/09/2017       Bought                1,000      $23.6661
     10/19/2017       Bought                2,000      $23.6261
     10/19/2017       Bought                2,000      $23.6061
     10/20/2017       Bought                2,000      $22.7782
     10/20/2017       Bought                1,000      $22.8764
     10/20/2017       Bought                1,000      $23.5959
